Case 1:14-cv-01600-RM-MEH Document 29 Filed 09/17/14 USDC Colorado Page 1 of 12




                                  IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLORADO
  Civil Action No. 1:14-cv-01600-MEH

  Let’s Go Aero, Inc.,
                     Plaintiff,
  v.
  Cequent Performance Products, Inc. et al.,
                     Defendants.


                                  CEQUENT’S MOTION TO COMPEL ARBITRATION


               In accordance with the Federal Arbitration Act, 9 U.S.C. § 1 et seq., Cequent

  Performance Products, Inc. moves the Court to compel arbitration and to administratively

  close this case or, in the alternative, to stay proceedings under 9 U.S.C. § 3 pending the

  outcome of arbitration.

                                              Introduction

               Let’s Go Aero, Inc. (“LGA”) and Cequent Performance Products, Inc. (“Cequent”)

  previously resolved litigation in this Court over Cequent’s sales of certain cargo

  management products, to which LGA claimed intellectual property (“IP”) rights. In settling

  their dispute, the parties agreed – in a broad arbitration clause obtained from the

  American Arbitration Association – that any future dispute over those products or LGA’s

  purported IP rights to those products must be resolved through arbitration.

               LGA has now breached the arbitration clause by filing this lawsuit, again asserting

  its purported IP rights against Cequent’s alleged sales of the same cargo products that LGA



  {5116573:}
Case 1:14-cv-01600-RM-MEH Document 29 Filed 09/17/14 USDC Colorado Page 2 of 12




  challenged previously. The arbitration clause applies to this case with full force, and the

  Court should enforce it by compelling arbitration.

                                                        Facts

  I.           Prior License

               The parties’ rocky relationship began in January 2008 when they entered into a

  license agreement (the “License”) that permitted Cequent to sell certain cargo-

  management products over which LGA claimed to have enforceable IP rights, including

  patent rights.1 In return for the purportedly exclusive license, Cequent paid LGA over

  $586,000. (See Compl. ¶ 3 in Cequent v. Let’s Go Aero, D. Colo., Case No. 1:10-cv-02921-

  MSK-CBS (“LGA I”).)2 Those products, which were identified in Exhibit 1 to the License are

  the: “Pixie,” “Silent Hitch Pin,” “Gear Cage,” “Gear Deck,” “Gear Space,” “Twin Tube,” “Juice

  Box,” and “Gear Bed.” (collectively, the “Products”). (See Ex. 1 to License.) The Products are

  vehicle cargo products. The “silent hitch pin” is a spring-loaded pin that holds a rear vehicle

  hitch together without rattling, the “Pixie” is a hitch-mounted bike rack, and the other

  products hitch to the back of vehicles to provide additional cargo space. The photograph

  below of the GearCage from LGA’s website is illustrative of the technology at issue.




  1
      A true copy of the License is attached as Exhibit A.
  2
      A true copy of the Complaint that Cequent filed in LGA I is attached as Exhibit B.


  {5116573:}                                               2
Case 1:14-cv-01600-RM-MEH Document 29 Filed 09/17/14 USDC Colorado Page 3 of 12




                                                GearCage

      (Captured from www.letsgoaero.com/GearCage-SP-6-p/gcsp-6htm on Sept. 17, 2014.)

               Cequent later discovered that it received nothing in return for its cash payments

  because LGA had no patent rights to most, if not all, of the products covered by the License

  due to LGA’s failure to pay patent maintenance fees (resulting in loss of patent rights), its

  misrepresentation of the scope of its patents or patent applications, and other reasons.

  (LGA I Compl. ¶ 4-5.) Thus, anyone could manufacture and sell the Products without

  having to pay LGA, depriving Cequent of the benefit of its bargain.

  II.          First Lawsuit and Settlement with Arbitration Clause

               When LGA refused to acknowledge or remedy its breaches of the License, Cequent

  filed the LGA I case in this Court.3 LGA counterclaimed in LGA I, alleging that Cequent’s

  alleged sales of the Products violated LGA’s purported IP rights. (See LGA I Am. Countercl.

  ¶ 113.)4 According to LGA’s amended counterclaim in LGA I, the Products were covered by

  patents, patent applications, and registered trademarks. (See LGA I Am. Countercl. ¶ 113.)


  3
    Although Cequent is headquartered in Michigan, it sued in Colorado to comply with the License’s forum
  selection clause. (See License ¶ 10.)
  4
    A true copy of LGA’s Amended Counterclaim in LGA I is attached as Exhibit C.


  {5116573:}                                        3
Case 1:14-cv-01600-RM-MEH Document 29 Filed 09/17/14 USDC Colorado Page 4 of 12




               Due to the efforts of Magistrate Judge Craig Shaffer mediating that dispute, the

  parties settled under a January 28, 2012, “Settlement Agreement and Release” (the

  “Settlement”).5 As part of the Settlement, the parties agreed that, if there was any future

  dispute over the Products or LGA’s purported IP rights, the parties would be required to try

  and negotiate a settlement and, if unable to amicably resolve the matter, resolve the matter

  through arbitration. The arbitration clause states:

               In the event of any dispute, claim, question, or disagreement arising from or
               relating to this Agreement or the breach thereof, the Parties shall use their
               best efforts to settle the dispute, claim, question, or disagreement. To this
               effect, they shall consult and negotiate with each other in good faith and,
               recognizing their mutual interests, attempt to reach a just and equitable
               solution satisfactory to both parties.

               If they do not reach such solution within a period of 60 days, then, upon
               notice by either party to the other, all disputes, claims, questions, or
               differences shall be finally settled by arbitration administered by the
               American Arbitration Association in accordance with the provisions of its
               Commercial Arbitration Rules. Venue for the arbitration proceedings shall
               be in Chicago, Illinois, and the arbitration shall be conducted by a single
               neutral arbitrator.

  (Settlement ¶ 23.) The Settlement also terminated the License. (Id. ¶ 1.) According to LGA

  here, that termination of the License ended Cequent’s right to sell the Products and,

  therefore, makes Cequent’s alleged ongoing sales of one or more of the Products actionable

  in tort. (2d Am. Compl. ¶ 11-16.)




  5
      A true copy of the Settlement is attached as Exhibit D.


  {5116573:}                                               4
Case 1:14-cv-01600-RM-MEH Document 29 Filed 09/17/14 USDC Colorado Page 5 of 12




  III.         This Lawsuit

               On June 6, 2014, LGA filed this lawsuit (“LGA II”), again claiming that Cequent’s

  sales of at least some of the Products violates LGA’s purported IP rights. (See Compl. ¶ 8-

  10, ECF # 1.) The same lawyer who represented LGA in LGA I and negotiated the Settlement

  on its behalf, Thomas Haskins, represents LGA here.

               On June 23, 2014, LGA amended its complaint to add U-Haul as a defendant. (See

  Am. Compl., ECF # 11.)

               On August 7, 2014, LGA again amended its complaint. (See 2d Am. Compl., ECF #

  15.) In the second amended complaint, LGA dropped U-Haul as a defendant and added two

  counts. The two new counts rely on the same underlying facts as were presented in the

  previous complaints.

               LGA has challenged Cequent’s sales of the same products that it challenged in LGA

  I, namely the “Silent Hitch Pin,” “Pixie,” and “GearCage.” (Compare Am. Countercl. ¶ 113

  with 2d Am. Compl. ¶¶ 12-13.) And LGA asserts the same patents and patent applications

  that it asserted in LGA I. (Id.)6




  6
    The majority of LGA’s claims for relief do not specify which patents, trademark, or copyrights it is accusing
  Cequent of infringing which, but for the arbitration clause, would subject the complaint to a Rule 12(b)(6)
  motion. (See 2d Am. Compl., Claims for Relief 1-5, 8, and 10-12.) Nevertheless, all of the patents included in
  its allegations were included in the License, which the parties terminated as part of the Settlement. U.S.
  Patent Nos. 8,079,613 and 8,079,419 issued after the commencement of LGA I but before the Effective Date of
  the Settlement. These patents issued from applications (U.S. App. Nos. 11/382,917 and 10/711,961, respectively)
  that were part of the parties’ License. (See LGA I Am. Countercl. ¶ 113-114 (listing patents, patent applications,
  and trademarks that were part of the parties’ License).)


  {5116573:}                                              5
Case 1:14-cv-01600-RM-MEH Document 29 Filed 09/17/14 USDC Colorado Page 6 of 12




               Although LGA uses various names to describe its causes of action such as

  “Declaratory Judgment,” “Unjust Enrichment and Accounting,” and “Civil Conspiracy,”7 the

  gist of each claim is the same: that Cequent’s alleged sale and marketing of the Products

  after the Settlement terminated the License violates LGA’s purported IP rights. Because

  each of LGA’s claims against Cequent arise from or relate to the Settlement, these claims

  must be arbitrated.

                                             Law and Argument

  I.           Arbitrability Depends On the Breadth Of The Arbitration Clause

               The Supreme Court has recognized the “liberal federal policy favoring arbitration

  agreements.” See Green Tree Fin. Corp. v. Randolph, 531 US 79, 91 (2000). “Any doubts

  concerning the scope of arbitrable issues should be resolved in favor of arbitration.”

  Moses H. Cone Memorial Hospital v. Mercury Constr. Corp., 460 U. S. 1, 24-25 (1983).

               Whether a case is arbitrable is a question of law for the court. Newmont U.S.A. Ltd.

  v. Ins. Co. of N. Am., 615 F.3d 1268, 1274 (10th Cir. 2010).

               “[I]n deciding if a dispute is arbitrable, a court must initially determine whether

  the arbitration provision is broad or narrow.” Newmont, 615 F.3d at 1274, citing Cummings

  v. FedEx Ground Package Sys., Inc., 404 F.3d 1258, 1261 (10th Cir. 2005).




  7
   Many, if not all, of these alleged claims for relief have no basis in the law or are improperly pled. Cequent
  does not waive its right to challenge the propriety of the claims for relief contained in the complaint.
  However, at this stage of the litigation, such a challenge is not yet appropriate. See Lamkin v. Morinda Props.
  Weight Parcel, LLC, 440 Fed. Appx. 604, 607-08 (10th Cir. 2011) (moving to compel arbitration and for stay in lieu
  of answer or motion to dismiss complaint is procedurally correct).


  {5116573:}                                              6
Case 1:14-cv-01600-RM-MEH Document 29 Filed 09/17/14 USDC Colorado Page 7 of 12




               Courts unanimously agree that an arbitration clause, such as the present one,

  covering any disputes “arising from or relating to” to agreement is broad. See e.g.,

  Cummings, 404 F.3d at 1262; Newmont, 615 F.3d at 1274-1275; Daugherty v. Encana Oil &

  Gas (USA), Inc., No. 10-cv-02272-WJM-KLM, at *5 (D. Colo. July 15, 2011); GATX Mgmt.

  Servs., LLC v. Weakland, 171 F. Supp. 2d 1159, 1163 (D. Colo. 2001). Interpreting the same

  “arising out of or relating to” language at issue here, this Court has ruled that such

  language “covers not only those issues arising out of the [] contract, but even those issues

  with any connection to the contract or to the relationship between the parties.” GATX, 171

  F. Supp. 2d at 1163. For such clauses, this Court has held, the “strong presumption

  favoring arbitrability ‘applies with even greater force.’” Id.

               Consistent with the judicial preference for arbitration, “[w]here the arbitration

  clause is broad, there arises a presumption of arbitrability and arbitration of even a

  collateral matter will be ordered if the claim alleged implicates issues of contract

  construction or the parties’ rights and obligations under it.” Cummings, 404 F.3d at 1261.

               “[A] collateral issue . . . is somehow connected to the main agreement that

  contains the arbitration clause.” Burlington Northern and Santa Fe Ry. Co. v. PSO., 636 F.

  3d 562, 569 (10th Cir. 2010). "If the allegations underlying the claims touch matters

  covered by the parties' [arbitration agreement], then those claims must be arbitrated,

  whatever the legal labels attached to them." Id at 570, quoting Chelsea Family Pharmacy,

  PLLC v. Medco Health Solutions, Inc., 567 F.3d 1191, 1198 (10th Cir. 2009).




  {5116573:}                                       7
Case 1:14-cv-01600-RM-MEH Document 29 Filed 09/17/14 USDC Colorado Page 8 of 12




  II.          This Dispute Is Entirely Covered By The Broad Arbitration Clause

               A.     The Arbitration Clause Is Broad

               The arbitration clause here is broad as a matter of law, as it applies to “any dispute,

  claim, question, or disagreement arising from or relating to this Agreement or the breach

  thereof.” Settlement ¶ 23 (emphasis added); see Newmont, 615 F.3d at 1274-75 & no.5

  (“Generally, when an arbitration provision provides for any dispute ‘arising out of’ a

  particular contract, the provision is construed broadly to suggest that a given dispute is

  arbitrable.”); see also Rains v. Foundation Health Sys. Life & Health, 23 P.3d 1249, 1252

  (Colo. Ct. App. 2001) (“The scope of arbitration clauses phrased in this language [referring

  to ‘arising out of or relating to’ language] is broad and inclusive, rather than narrow and

  exclusive. Such broad, unrestricted clauses make the ‘strong presumption favoring

  arbitration’ [apply] with even greater force.”).

               Indeed, the clause is broader than the “arising from” language declared broad by

  the Tenth Circuit in Newmont because it adds the expansive “or relating to” language. See

  Newmont, 615 F.3d at 1274-75 (holding “arising out of” is broad); GATX, 171 F. Supp. 2d at

  1163 (holding “related to” language is “undoubtedly” broad).

               In fact, the parties used the “NEG 1” clause provided by the American Arbitration

  Association that contains standard broad language that “consistently receive[s] judicial

  support” and “makes clear that all disputes are arbitrable . . . [to] minimize[] dilatory




  {5116573:}                                          8
Case 1:14-cv-01600-RM-MEH Document 29 Filed 09/17/14 USDC Colorado Page 9 of 12




  court actions to avoid the arbitration process.” (See AAA’s Drafting Dispute Resolution

  Clauses, A Practical Guide at p. 10-12, NEG 1.)8

               The arbitration clause is broad and, therefore, there is a presumption of

  arbitrability, including for collateral matters.

               B.    This Dispute Is Within The Scope Of The Broad Arbitration Clause

               Each of LGA’s claims against Cequent arises out of or relates to the Settlement.

  The Settlement resolved a dispute between the parties regarding Cequent’s sales of the

  Products and alleged violations of LGA’s IP rights to those products. (See LGA I Am.

  Countercl. ¶ 113-114.) This dispute is the same type of dispute between the same parties

  over the same subject matter: a dispute over Cequent’s sales of the Products and LGA’s

  alleged IP rights to them. Therefore, this dispute arises out of and relates to the

  Settlement on that basis alone.

               That LGA crafted its allegations to target only alleged conduct by Cequent that

  occurred after the execution of the Settlement does not push this case beyond the scope

  of the arbitration clause. (See 2d Am. Compl. ¶ 44 (alleging that Cequent violated LGA IP

  rights by “using them to market and sell LGA’s products as its own following the January

  28, 2012 termination of the License Agreement”).) While Paragraph 6 of the Settlement

  specifically excludes from the releases in Paragraphs 1, 4, and 5 any unlawful use of

  intellectual property “occurring after the Effective Date” of the Agreement, that paragraph

  tellingly does not place any limitation on the arbitration clause in Paragraph 23. And the


  8
      A true copy of this AAA publication is attached as Exhibit E.


  {5116573:}                                               9
Case 1:14-cv-01600-RM-MEH Document 29 Filed 09/17/14 USDC Colorado Page 10 of 12




   arbitration clause itself does not contain any limit as to future disputes regarding claims

   of unlawful use of intellectual property. On the contrary, limiting its scope to disputes

   over pre-settlement conduct would make no sense as the Settlement’s releases preclude

   any disputes over pre-settlement conduct. Thus, the broad arbitration clause applies to

   LGA’s action for relief from Cequent’s alleged post-settlement sales of the Products and

   the alleged use of LGA’s intellectual property in connection with those sales.

                This dispute is within the scope of the arbitration clause for another reason: LGA

   premises all of its claims on the termination of the License. According to LGA, the

   Settlement terminated the License effective January 28, 2012, and ended Cequent’s right

   to sell and market the Products, including the Pixie Bicycle Rack, Silent Hitch Pin, and

   GearCage. (2d Am. Compl. ¶ 11-15.) Every one of LGA’s claims in its second amended

   complaint is premised on its allegations that Cequent’s continuing to sell the Products,

   with associated trademarks and allegedly copyrighted brochures and marketing materials,

   after termination of the License is tortious. (See, e.g., 2d Am. Compl. ¶ 43 (“LGA conferred

   a benefit when Cequent retained the LGA Inventions, LGA Copyrights, and LGA

   Trademarks and Sales Media acquired from LGA pursuant to the Nondisclosure and

   License Agreements after the voluntary agreement to terminate the License Agreement

   on January 28, 2012.”).) Thus, every claim arises out of and relates to the Settlement

   because each is premised on the termination of the License caused by the Settlement.

                LGA’s allegations about the silent hitch pin product further illustrate how its

   claims arise out of and relate to the Settlement. LGA alleges that Cequent is liable to LGA


   {5116573:}                                       10
Case 1:14-cv-01600-RM-MEH Document 29 Filed 09/17/14 USDC Colorado Page 11 of 12




   for selling Silent Hitch Pin products beyond a 23,300 unit “phase-out” permitted by the

   Settlement (2d Am. Compl. ¶ 24-26, 30, 36; see Settlement ¶ 2, Ex. 1 (permitting phase out

   of 25,792 silent hitch pins).) There can be no dispute that these claims arise out of and

   relate to the Settlement, especially as LGA’s own allegations have put the “phase out”

   provision of the Settlement – which is misreads as allowing 23,300 units, instead of 25,792

   units – directly at issue.

                Consequently, the Court should compel arbitration and administratively close this

   proceeding or, alternatively, stay the proceedings under 9 U.S.C. § 3. See Elliott v. Essex

   Motors, LLC, No. 12-cv-01078, 2013 WL 1117211, at *3 (D. Colo. Mar. 10, 2013) (compelling

   arbitration and “administratively closing” case under D.C.COLO.LCivR. 41.2).

                                               Conclusion

                Based on the foregoing, Cequent’s motion to compel arbitration should be granted

   and the proceedings stayed.

                                                     Respectfully submitted,

   Dated: September 17, 2014                           s/ David B. Cupar
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   {5116573:}                                       11
Case 1:14-cv-01600-RM-MEH Document 29 Filed 09/17/14 USDC Colorado Page 12 of 12




                                 CERTIFICATE OF SERVICE

   I hereby certify that on September 17, 2014, I electronically filed the foregoing with the
   Clerk of this Court using the CM/ECF system, which will electronically mail notice to the
   following:

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   {5116573:}                                  12
